                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                                        No. 06-CR-35-LRR
 vs.                                                                SENTENCING
                                                                   MEMORANDUM
 HARRIETTE COOPER,
                Defendant.
                                    ____________________
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                                   I. INTRODUCTION
       The matter before the court is the sentencing of Defendant Harriette Cooper on her
plea of guilty to one count of structuring a financial transaction, in violation of 31 U.S.C.
§ 5324(a)(3) and (c).
                          II. PROCEDURAL BACKGROUND
       On March 23, 2006, a grand jury charged Defendant in a seven-count Indictment.
(docket no. 2). On May 10, 2006, a grand jury charged Defendant, and her codefendant,
Charles Hodges, Jr., in a twenty-four-count Superseding Indictment (docket no. 15).
Defendant was named in Counts 3-10.
       Counts 3-8 charge that, on six occasions between April 8, 2003 and April 29, 2003,
Defendant knowingly transacted, or aided and abetted the transaction of, amounts totaling
$40,354.76 in proceeds of a distribution of controlled substances for the purpose of
evading the reporting requirements under section 5313(a) of Title 31 of the United States
Code, in violation of 18 U.S.C. §§ 2 and 1956(a)(1)(B)(ii).
       Count 9 charges that, between April 8, 2003 and April 29, 2003, Defendant
knowingly and for the purpose of evading the reporting requirements of section 5313(a)
of Title 31 of the United States Code, and the regulations promulgated thereunder,
structured and caused to be structured a financial transaction of $40,354.76, in violation
of 31 U.S.C. § 5324(a)(3) and (c).
       Count 10 charges that, on or about April 8, 2003 through and including April 29,
2003, Defendant willfully failed to file form 8300 with the Internal Revenue Service for
the receipt of cash in the amount of $40,354.76 for the purchase of a home, in violation
of 26 U.S.C. § 7203.
       On August 8, 2006, the parties entered into a plea agreement (“Plea Agreement”).
(docket no. 78-2). On August 9, 2006, Defendant appeared before a United States
Magistrate Judge and pled guilty to Count 9 of the Superceding Indictment. On the same


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date, the undersigned accepted Defendant’s guilty plea.
       On January 30, 2007, the United States Probation Office (“USPO”) filed a
presentence investigation report (“PSIR”) and also prepared a sentencing recommendation.
On March 6, 2007, the government filed a Sentencing Memorandum (“Memorandum”)
(docket no. 103), and Defendant filed a Motion for Downward Departure or Variance
(“Motion”) (docket no. 104). On March 12, 2007, the USPO then prepared an Addendum
to the PSIR. On May 2, 2007 the government filed an addendum to its Memorandum, and
on May 9, 2007, Defendant filed an addendum to her Motion.
       On May 10 and May 11, 2007 Defendant appeared at a sentencing hearing
(“Hearing”) before the undersigned. Assistant United States Attorney C.J. Williams
represented the government.      Defendant was personally present and represented by
Attorney Leon Spies. At the conclusion of the Hearing, the court took under advisement
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the issues presented and reserved ruling until the entry of this Sentencing Memorandum.

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          At the Hearing, the court informed the parties that it would file a written
sentencing memorandum thereafter.
        The instant Sentencing Memorandum is primarily designed to provide a more
detailed understanding of the court’s reasoning on the contested advisory Sentencing
Guidelines issues; it is not comprehensive. For example, the court’s analysis of the factors
at 18 U.S.C. § 3553(a) is outside the scope of this document. The Supreme Court recently
stated:
              The appropriateness of brevity or length, conciseness or detail,
              when to write, what to say, depends upon the circumstances.
              Sometimes a judicial opinion responds to every argument;
              sometimes it does not; sometimes a judge simply writes the
              word “granted” or “denied” on the face of a motion while
              relying upon context and the parties’ prior arguments to make
              the reasons clear. The law leaves much, in this respect, to the
              judge’s own professional judgment.

Rita v. United States, No. 06-5754, 2007 WL 1772146, *12 (U.S. June 21, 2007). What
is important is that “[t]he sentencing judge . . . set forth enough to satisfy the appellate
                                                                              (continued...)

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When sentencing resumes on July 19, 2007, the court shall pronounce a sentence consistent
with the instant sentencing memorandum.
                            III. THREE—STEP PROCESS
      The Eighth Circuit Court of Appeals has explained that, in the post-Booker world,
“there are essentially three steps to determining an appropriate sentence.” United States
v. Sitting Bear, 436 F.3d 929, 934 (8th Cir. 2006).
             First, the district court should determine the applicable
             Sentencing Guidelines range without consideration of any
             Guidelines departure factors, because the Guidelines remain an
             important sentencing factor. See § 3553(a)(4). Second, the
             district court, where appropriate, should consider the departure
             provisions contained in Chapter 5, Part K and/or §4A1.3 of
             the Guidelines, as those sentencing provisions have not been
             excised by Booker. The resulting range is the post-Booker
             advisory Guidelines range. Third, the district court should
             consider the rest of the § 3553(a) factors in determining
             whether to impose the “Guidelines sentence” as determined in
             the prior steps or a “non-Guidelines sentence” driven by the
             other § 3553(a) considerations, and sentence the defendant
             accordingly. [United States v.] Haack, 403 F.3d [997,] 1003
             [(8th Cir.), cert denied, 126 S. Ct. 276 (2005)]; see also
             United States v. Denton, 434 F.3d 1104, 1114 (8th Cir.2006)
             (reviewing the sentence imposed by the district court under the
             three-part Haack methodology).
Id. at 934-35. The court adheres to this three-step process. Furthermore, the “presumption
of reasonableness” standard that is applied to a sentence calculated through such process
is an appellate standard, and it is not employed here. Rita v. United States, No. 06-5754,
2007 WL 1772146, *9 (U.S. June 21, 2007) (“We repeat that the presumption before us


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        (...continued)
court that [she] has considered the parties’ arguments and has a reasoned basis for
exercising [her] own legal decisionmaking authority.” Id. (citing United States v. Taylor,
487 U.S. 326, 336-37 (1988)).

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is an appellate court presumption.”)
                        IV. SENTENCING CALCULATIONS
       There are seven issues that bear on the sentencing calculation here: (A) whether
the USPO properly scored Defendant with a base offense level of 12, reflecting the amount
of funds involved in the structuring; (B) whether the USPO properly scored Defendant
with a two-level increase, pursuant to USSG §2S1.3(b)(1), for having knowledge that the
structured funds were proceeds of unlawful activity; (C) whether the USPO properly
scored Defendant with a two-level increase, pursuant to USSG §3B1.3, for use of a special
skill or an abuse of trust; (D) whether Defendant is subject to a two-level increase,
pursuant to USSG §3C1.1, for obstruction of justice because she committed perjury when
testifying before the court at the Hearing; (E) whether Defendant is entitled to a two-level
decrease, pursuant to USSG §3E1.1, for acceptance of responsibility; (F) whether
Defendant should pay a fine; and (G) whether a downward departure is warranted based
on her employment record, civic contributions and charitable activities. The court shall
address each issue in turn.
       To the extent necessary, the court makes factual findings under a preponderance of
the evidence standard. See United States v. Bah, 439 F.3d 423, 426 n.1 (8th Cir. 2006)
(“[J]udicial fact-finding using a preponderance of the evidence standard is permitted
provided that the [Sentencing Guidelines] are applied in an advisory manner.”). The
government bears the burden of proof on the instant advisory Sentencing Guidelines issues,
except Defendant’s request for a reduction, pursuant to USSG §3E1.1, for acceptance of
responsibility and Defendant’s request for a downward departure, pursuant to USSG
§§5H1.5 and 5H1.11. Compare United States v. Flores, 362 F.3d 1030, 1037 (8th Cir.
2001) (stating that the government bears the burden to prove sentencing enhancements),
with Peters v. United States, 464 F.3d 811, 812 (8th Cir. 2006) (stating that the defendant
bears the burden to prove acceptance of responsibility) and United States v. Lussier, 423


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F.3d 838, 843 (8th Cir. 2005) (holding that defendant “has the burden of proving that a
reduction in the offense level should apply”).
       A.     The USPO Properly Scored Defendant with a Base Offense Level of 12,
              Reflecting the Amount of Funds Involved in the Structuring.
       Appendix A to the Sentencing Guidelines states that the applicable guideline for a
violation of 31 U.S.C. § 5324 is USSG §2S1.3. USSG Appx. A.
       The Sentencing Guidelines base the offense level for the crime of structuring on the
value of the funds in the offense of conviction. The base offense-level is “six plus the
number of offense levels from the table in §2B1.1 (Theft, Property Destruction, and
Fraud) corresponding to the value of the funds. . . .” USSG §2S1.3(a)(2). The table
offered in Section 2B1.1 states, in part, as follows:

 Loss (Apply the Greatest)                              Increase in Level
 $5,000 or less                                         no increase
 More than $5,000                                       add 2
 More than $10,000                                      add 4
 More than $30,000                                      add 6
 More than $70,000                                      add 8

USSG §2B1.1
       The relevant Application Note, note 1, for §2S1.3 reads, “[f]or purposes of this
guideline, ‘value of the funds’ means the amount of the funds involved in the structuring
or reporting conduct. The relevant statutes require monetary reporting without regard to
whether the funds were lawfully or unlawfully obtained.” USSG §2S1.3, cmt. (n.1).
       Several courts have discussed the contours of the “value of funds” provision, though
the Eighth Circuit Court of Appeals has not discussed it. In United States v. Beras, 183
F.3d 22, 24 (1st Cir. 1999), defendant A and defendant B arrived at an airport together
in Puerto Rico carrying $75,000 and $63,794 respectively, which they did not report. Id.


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at 24. Defendant A argued that, for purposes of §2S1.3(a)(2), the “value of funds” should
be only $75,000, not $138,794. Id. at 27, fn.4. The First Circuit Court of Appeals found
the argument “totally without merit” because defendant A and defendant B “together were
transporting $138,794 . . . [and] the entire amount belonged to” defendant A. Id. The
implications are useful for present purposes. First, a defendant is liable for all of the
structured funds, not just amounts over the reporting threshold, namely, $10,000, and
amounts handled exclusively by codefendants. Second, a defendant may not shield himself
or herself from structuring liability by dividing cash among codefendants.
       The Fourth Circuit Court of Appeals in United States v. Abdi, 342 F.3d 313 (4th
Cir. 2003), rejected the argument that the “value of funds” for purposes of §2S1.1(a)(2)
are only those amounts that subsequently fund “unlawful purposes,” namely, terrorism.
Id. at 318-319. It held instead that the value of funds “is the entire amount of the funds
that the defendant structured because that is the amount ‘involved in the structuring or
reporting conduct.’” Abdi, 342 F.3d at 319 (quoting USSG §2S1.3(a)(2), cmt. (n.1)). It
went on to explain that the “value is not limited to the portion of the funds above $10,000
on any given day, and the provision grants no discretion to the court to reduce the
amount.”     Id. at 319.     Further, the district court in United States v. Bariek,
2005 WL 2334682, No. 01:05CR150JCC (E.D.Va. 2005), recognized the Abdi holding
and calculated the “value of funds” based on “‘the entire amount of the funds’”
transmitted. 2005 WL 2334682 at *2 (quoting Abdi, 342 F.3d at 319). The court in
United States v. Builes, 837 F.Supp. 490, 492 (N.D.N.Y. 1993), also held that the entire
amount of the transfer, not just the $10,000 trigger-amount, counted towards the
calculation of the offense level.
       Defendant helped Charles Hodges, Jr. (“Hodges”) make a down payment on a
house in the amount of $40,354.76. (Plea Agreement at 5). Defendant contends that the
“value of funds” should be based only on $20,000 of the $40,354.76 down payment made


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on the house by Hodges. Defendant argues that because only $20,000 of the $40,354.76
given to her by Hodges was divided into smaller amounts in cashier’s checks, the
structuring crime only attaches to that smaller amount.        For sentencing purposes,
Defendant urges the court to calculate the sentence based on the amounts that she “broke
down” into smaller amounts.
       The government responds that, even if there were multiple payments as Defendant
alleges, the calculated amount for sentencing purposes should be the total, between
Defendant and Hodges, transacted to avoid the reporting requirements, which is
$40,354.76.
       Application Note 1, coupled with the case law, makes plain that Defendant’s base
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offense level should be based on the entire amount structured, $40,354.76. She obtained
six cashier’s checks from multiple banks. (Plea Agreement at 6). Indeed, Hodges testified
at the Hearing that he discussed with Defendant the need to bring her amounts as near to
$10,000 as possible in order to avoid triggering the reporting requirements. He went on
to note that Defendant told him that she could not receive all of his cash payments at once
because she would have to get separate cashier’s checks. He testified that Defendant said
she would arrange for the separate cashier’s checks.        It is irrelevant if Defendant
physically divided the cash into smaller amounts, if she instructed Hodges to deliver
smaller increments of cash to her, collected his payments and transacted them for cashier’s
checks at multiple banks.
       The absurdity of Defendant’s interpretation adds further support to this result.
Under Defendant’s interpretation, if she had not divided any of the funds for Hodges, the
calculation of funds structured by her would be $0. Put differently, she would have the

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          The issue may be moot because after cross-examination Defendant finally
admitted to breaking down an additional $10,300, which increases her total admitted
amount to $30,300. This amount exceeds the guideline threshold, and whether the amount
structured is $30,300 or $40,354.76, the six-level increase applies.

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court believe that she pled guilty to structuring but has not structured any funds.
        Therefore, based on USSG §2S1.3(a)(2), Defendant’s base offense-level is 12.
        B.     The USPO Properly Scored Defendant with Two-Level Increase for Having
               Knowledge that the Structured Funds Were Proceeds of Unlawful Activity,
               Pursuant to USSG §2S1.3(b)(1).
        Section 2S1.3(b)(1) of the Sentencing Guidelines states that, “[if] . . . (A) the
defendant knew or believed that the funds were proceeds of unlawful activity, or were
intended to promote unlawful activity . . . , increase by 2 levels.” USSG §2S1.3(b)(1)
(emphasis in original). The Sentencing Guidelines provide no Application Notes for this
subsection.
        The Eighth Circuit Court of Appeals has acknowledged that the illicit funds
enhancement inquiry is a factual one. United States v. Mitchell, 31 F.3d 628, 633 (8th
Cir. 1994) (upholding a district court’s finding of defendant’s knowledge based on his
conduct).     Specifically, the Mitchell court listed a variety of conduct that strongly
suggested the defendant, a real estate broker, knew that the funds being structured were
derived from unlawful activities. Id. at 633.
               We find abundant evidence in the record upon which the court
               properly could base its finding, including that Mitchell had
               enjoyed a long friendship with Dowdy; that Mitchell had
               visited the home of one of Dowdy’s girlfriends, Vicky Nixon,
               on several occasions when significant amounts of cash and
               drugs were on hand; that Mitchell had been a fireman and
               therefore was familiar with Dowdy’s earning capacity yet also
               was aware of Dowdy’s extravagant lifestyle; that Mitchell paid
               the bulk of the Troost Property’s purchase price in cash in
               small denominations delivered in paper or plastic bags; and
               that Dowdy was the true owner of the Troost Property.
Id.
        The record shows by a preponderance of the evidence that Defendant knew that the
funds were derived from unlawful activities.       Defendant’s statements at her initial


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interview by law enforcement are especially illuminating. She told agents that Hodges told
her that he did not want to convert his cash into cashier’s checks. Agent Robinson testified
at the Hearing that Defendant told agents at her initial interview that Hodges’s lifestyle was
probably not legitimate. For example, his expensive clothes and cars suggested as much
to her. Agent Robinson further testified that Defendant said that she was suspicious of
Hodges’s lifestyle and that she had not been sleeping well since the house was sold to
Hodges and expected someone to contact her about the sale. When asked by the agents
if she knew Hodges was a drug dealer, she explained that she was from the south side of
Chicago and “knew what was going on.” She stated that she discussed the transaction with
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her husband but let the matter drop. Moreover, she admitted to the agents that when she
got the cashier’s checks for Hodges she knew that she was doing something wrong. She
stated that she still went through with the transaction because she had invested so much
time into getting Hodges a home.
       Defendant’s own conduct also supports this conclusion. She testified that she took
no steps to discover the source of the cash provided to her by Hodges. Hodges testified
that Defendant told him that she did not want to know the source of the cash.
Furthermore, testimony at the Hearing from Iowa Realty divisional president William
Grabe made plain that she did not handle the cash according to the normal course of
business at Iowa Realty; she did not document the receipt thereof; she did not produce a
receipt for Hodges; she did not deposit Hodges’s payments in Iowa Realty’s trust account,
or otherwise notify her colleagues of the transactions. Don Knapp, a realtor at Iowa
Realty who assisted in securing the financing for the house, testified at the Hearing that
Defendant told him that a woman from Chicago was purchasing the house, not a man from
Cedar Rapids, Iowa. Perhaps most tellingly, Defendant obtained cashier’s checks from


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         At the time of this conversation Defendant’s husband was a federally convicted
drug (cocaine) dealer.

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multiple banks and even different branches of the same bank. (Plea Agreement at 6).
      Other indicia nearly foreclose the issue. Hodges testified at the Hearing that he
delivered cash payments to Defendant in a brown-paper bag on several occasions. He
testified that he told Defendant that he did not want to make a down payment greater than
$10,000 because it might attract the attention of the IRS. He told Defendant that he did
not want the house in his name because he was unemployed and his income in trading cars
would not support the amount of the down payment. He further testified that he had
smoked marijuana before meeting with Defendant on at least one occasion and was under
the influence at such meeting. Defendant stated that Hodges’s car often smelled like
marijuana. Her husband has a federal criminal history that includes a conviction of
possession of cocaine with the intent to distribute. Hodges testified that he had smoked
marijuana with family members of Defendant. On one occasion, bank tellers remarked
that the cash provided by Defendant, from Hodges, powerfully smelled of marijuana.
      Accordingly, the court finds that a two-level increase pursuant to USSG
§2S1.3(b)(1) is appropriate.
      C.     The USPO Properly Scored Defendant with a Two-Level Increase for Use
             of a Special Skill or an Abuse of Trust Pursuant to USSG §3B1.3.
             1.     Abuse of Public or Private Trust
      Section 3B1.3 reads in pertinent part, “[i]f the defendant abused a position of public
or private trust, or used a special skill, in a manner that significantly facilitated the
commission or concealment of the offense, increase by 2 levels.” USSG §3B1.3 (emphasis
added).
      The Application Notes define “public or private trust” as:

             “Public or private trust” refers to a position of public or
             private trust characterized by professional or managerial
             discretion (i.e., substantial discretionary judgment that is
             ordinarily given considerable deference). Persons holding
             such positions ordinarily are subject to significantly less

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              supervision than employees whose responsibilities are
              primarily non-discretionary in nature. For this enhancement
              to apply, the position of public or private trust must have
              contributed in some significant way to facilitating the
              commission or concealment of the offense (e.g., by making the
              detection of the offense or the defendant’s responsibility for
              the offense more difficult). This adjustment, for example,
              applies in the case of an embezzlement of a client’s funds by
              an attorney serving as a guardian, a bank executive’s
              fraudulent loan scheme, or the criminal sexual abuse of a
              patient by a physician under the guise of an examination. This
              adjustment does not apply in the case of an embezzlement or
              theft by an ordinary bank teller or hotel clerk because such
              positions are not characterized by the above-described factors.
USSG §3B1.3, cmt. (n.1).
       The Eighth Circuit Court of Appeals has never ruled that a real estate broker held
a position of trust, public or private, and abused that trust for purposes of §3B1.3.
However, it is clear that the “abuse of trust” analysis has both a legal and factual
component. “‘[O]rdinary commercial relationships do not constitute a trust relationship
sufficient to invoke §3B1.3 enhancement,’” but the analysis must also be “fact intensive
because it turns on the precise relationship between defendant and her victims . . . .”
United States v. Baker, 200 F.3d 558, 564 (8th Cir. 2000) (citing, in part, United States
v. Moor, 29 F.3d 175, 180 (4th Cir. 1994)); see also United States v. Trice, 245 F.3d
1041, 1042 (8th Cir. 2001) (holding that “arm’s length business relationships” do not
provide a basis for a position of trust).
       Further complicating the analysis is the crucial distinction between “public” and
“private” trusts. Research has revealed no case where a court has found that a real estate
broker holds a public trust for purposes of §3B1.1. Nonetheless, the Eighth Circuit Court
of Appeals has ruled that a defendant abused a public trust even where no private or
fiduciary relationship existed between the defendant and victim. See, e.g., United States
v. Goldman, 447 F.3d 1094, 1096 (8th Cir. 2006) (holding that defendant-attorney’s false

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and misleading testimony on behalf of client in bankruptcy proceeding abused public trust);
United States v. Fitzhugh, 78 F.3d 1326, 1331-2 (8th Cir. 1996) (holding that defendant-
attorney held position of public trust in defrauding Small Business Administration); United
States v. Armstrong, 992 F.2d 171, 173 (8th Cir. 1993) (holding that correctional officer
convicted of counterfeiting abused public trust by enlisting inmates to develop his scheme).
In each of these cases, there was an explicit finding of an abuse of public trust.
       Only the Fourth Circuit Court of Appeals has approved of a finding that a real estate
broker held a position of private trust and abused that trust, warranting an upward
enhancement. United States v. Akinkoye, 185 F.3d 192, 203 (4th Cir. 1999) (finding no
clear error in district court’s holding that real estate brokers using client keys to homes to
steal credit card information abused private trust). Conversely, the Seventh Circuit Court
of Appeals expressly rejected a district court’s finding that a real estate broker held a
position of private trust for purposes of a sentencing enhancement. United States v.
Brown, 47 F.3d 198, 205 (7th Cir. 1995) (holding that real estate brokers had a
commercial relationship with victims of Ponzi scheme, not a fiduciary one).
       Based on the case law above, in order for Defendant to qualify for the “abuse of
trust” enhancement, the court must hold that Defendant, as a real estate broker, held a
position of either private or public trust.
       The court finds that Defendant held a position of public trust. Real estate brokers
in Iowa are governed by the Code of Iowa, Iowa Code chapter 543B (2007), and the Iowa
Administrative Code, Iowa Admin. Code r. 193 (2007). To qualify for a “broker license”
an applicant must not have been convicted “of any crime involving moral turpitude,”
including, among other things, “conspiracy to defraud” and “obtaining money under false
pretenses.” Iowa Admin. Code r. 193-3.1(3).           Applicants are “subject to a national
criminal history check through the federal bureau of investigation” and must provide
“fingerprints to the department of public safety for submission” to the bureau as well.


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Iowa Code § 543B.15(10).
       The holder of a broker license may have such license revoked for, among other
things, “knowingly making misleading, deceptive, untrue or fraudulent representations in
the practice of the profession or engaging in unethical conduct or practice harmful or
detrimental to the public. Proof of actual injury need not be established.”            Id. at
§ 543B.15(29). A broker license therefore is reserved for those meeting legal and ethical
standards not incumbent upon the average citizen. These more exacting standards are
required, Application Note 1 explains, because “[p]ersons holding such positions ordinarily
are subject to significantly less supervision than employees whose responsibilities are
primarily non-discretionary in nature.” USSG §3B1.3, cmt. (n.1). Relatedly, “[f]or this
enhancement to apply, the position of public or private trust must have contributed in some
significant way to facilitating the commission or concealment of the offense (e.g., by
making the detection of the offense or the defendant’s responsibility for the offense more
difficult).” Id.
       Defendant’s position as a licensed real estate broker undoubtedly allowed her to
structure and launder the funds provided by Hodges in a manner unlikely to garner the
attention of others, just as the attorneys in Goldman and Fitzhugh and the corrections
officer in Armstrong were able to avoid detection. Defendant testified that it was not
uncommon for her to handle large amounts of cash and that she was a frequent customer
at several banks as part of her professional practice. Defendant testified that she arranged
for the third-party financing of Hodges’s home and that, while rare, such financing
arrangements were also part of her professional practice. These tasks, if not performed
by a licensed real estate broker, would certainly have aroused greater suspicion among the
bank employees, the seller, the seller’s attorney, the lender and the lender’s attorneys, than
if performed by Hodges. Bridget McWhorter, former teller at Commercial Federal Bank,
testified that she did not question Defendant’s possession of a large amount of cash because


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she knew Defendant was a real estate broker and that the check was made out to an escrow
company. Such an absence of suspicion goes to the very heart of a public trust.
       Therefore, the court finds that Defendant has abused a public trust for purposes of
USSG §3B1.3, and a two-level upward adjustment is warranted.
              2.     Use of a Special Skill
       Even if Defendant had not abused a public trust, the court would find that there
Defendant used a “special skill” in structuring the funds. The Eighth Circuit Court of
Appeals frames the legal question as “not whether the task could be performed by a person
without special skills, but whether the defendant’s special skills aided [her] in performing
the task.” United States v. Covey, 232 F.3d 641, 647 (8th Cir. 2000); see also United
States v. Bush, 252 F.3d 959, 962 (8th Cir. 2001) (quoting Covey).
       Defendant argues that, as a real estate broker, she used no special skills peculiar to
her profession to assist her in obtaining six cashier’s checks each no greater than $10,000.
       The Eighth Circuit Court of Appeals rejected a similar argument in United States
v. Culver, 929 F.2d 389 (8th Cir. 1991), when it upheld a two-level enhancement for the
defendant’s skill as a pilot, even though he was arrested before he “had an opportunity to
pilot the plane.” Id. at 393. “Appellant’s skill as a pilot extends to more than actually
flying the aircraft. His skills were required to plan for fuel, devise flight paths, and to
prepare the aircraft for flight after the undercover agent left.” Id.
       The Culver holding underscores how Defendant’s response ignores the concept of
relevant conduct. It provides that “all acts and omissions committed, aided, abetted,
counseled, commanded, induced, procured, or willfully caused by the defendant” shall
form the basis for any determination under Chapter 3 (such as adjustments under §3B1.1),
if such acts “occurred during the commission of the offense of conviction, in preparation
for that offense, or in the course of attempting to avoid detection or responsibility for that
offense . . . .” USSG §1B1.3(a)(1)(A)-(B); see also United States v. Andreano, 417 F.3d


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967, 970 (8th Cir. 2005) (holding that “conduct comprising a dismissed count may be used
as relevant conduct for sentencing purposes”); United States v. Ross, 279 F.3d 600, 605
(8th Cir. 2002) (holding that all relevant conduct in a fraud and money laundering scheme
bears on a defendant’s offense level, not just the offense of conviction).
       Here, Defendant’s involvement did not end with the structuring transactions but
continued with the purchase of, and closing on, the residence at 267 Tomahawk Trail SE.
Hodges testified that she showed him as many as ten houses for sale. Defendant testified
that she prepared and reviewed documentation; that she arranged for private third-party
financing because of Hodges’s poor credit; and that she assisted in titling the home in the
name of Hodges’s sister. Perhaps most importantly, she provided a veneer of legitimacy
to a real estate purchase that Hodges could not have facilitated on his own. Indeed,
Defendant’s role in the scheme with Hodges was not merely to obtain cashier’s checks on
his behalf but to further convert such funds into real property.
       Therefore, the court finds by a preponderance of the evidence that Defendant
exercised the skills of a real estate broker to aid in Hodges’ money laundering scheme.
Therefore, Defendant merits two-level upward adjustment for employing her special skills
as a real estate broker.
       D.     Defendant Committed Perjury in Her Testimony Before the Court at Her
              Sentencing Hearing on May 11, 2007.
       USSG §3C1.1 provides for a two-level increase in a defendant’s offense level if
              the defendant willfully obstructed or impeded, or attempted to
              obstruct or impede, the administration of justice with respect
              to the investigation, prosecution, or sentencing of the instant
              offense of conviction, and (B) the obstructive conduct related
              to (I) the defendant’s offense of conviction and any relevant
              conduct; or (ii) a closely related offense . . . .
USSG §3C1.1. The Application Notes explain that such obstructive conduct includes
“committing, suborning, or attempting to suborn perjury, including during the course of


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a civil proceeding if such perjury pertains to conduct that forms the basis of the offense of
conviction . . . .” Id., cmt. (n.4(b)). The Eighth Circuit Court of Appeals specifies that,
for a perjury enhancement, “the district court must find that the defendant gave ‘false
testimony concerning a material matter with the willful intent to provide false testimony,
rather than as a result of confusion, mistake, or faulty memory.’” United States v.
Thundershield, 474 F.3d 503, 507 (8th Cir. 2007) (quoting United States v. Dunnigan, 507
U.S. 87, 94 (1993)).
       The court finds by a preponderance of the evidence that Defendant gave false
testimony at the Hearing. First, she testified that she did not learn of the $10,000
transaction report threshold until she arrived at Collins Community Credit Union on April
10, 2003. On cross-examination, when asked if she was told by the bank teller that
$10,000 was the reporting threshold, she respond that it was the first time she had ever
heard or known about that threshold.
       However, Hodges testified that he told Defendant some time in March of 2003 of
the $10,000 threshold. Hodges explained that he and Defendant came to an agreement that
the amount to be transacted would be as close to $10,000 as possible in order to avoid this
very reporting requirement.
       Moreover, it strains credulity for a real estate broker with nearly 20 years of
financial experience to claim ignorance of the currency transaction reporting threshold.
Defendant’s own testimony underscores the extent to which real estate brokers become
intimately familiar with the intricacies of home finance and commercial banking. It seems
very unlikely that in all of Defendant’s dealings with buyers and lenders that this legal
requirement did not arise in her professional practice.
       Second, Hodges testified that he only gave Defendant only even amounts in bills,
yet one of the cashier’s checks amounts to $5,354.76. Hodges testified that he never
provided Defendant with this particular odd amount of cash, nor did he ever provide her


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with odd amounts of cash on other occasions.
       However, Defendant testified that she did receive an odd amount from Hodges that
she divided into cashier’s checks for $5,000 and $5,354.76. She specifically testified that
Hodges gave her $5,354.76. In other words, she would have the court believe that a drug
dealer gave her a brown bag or envelope full of bills and coins and she accepted it.
       The court finds that the false statements concerned material matters, specifically the
elements of intent and value. Defendant’s claim of not knowing the reporting threshold
suggests that Defendant did not knowingly commit the crime to which she has pleaded.
Defendant clearly made the claim during her testimony that she was surprised to learn from
the bank teller of the reporting requirement. Her assertion that she received odd amounts
from Hodges is a brazen attempt to shield herself from additional structuring liability. The
only alternative explanation of the cashier’s check in the odd-amount is further structuring
by Defendant.
       For these reasons, the court finds that Defendant has engaged in obstructive conduct
meriting a two-level increase in her offense-level.
       E.     Defendant Is Not Entitled to a Reduction of Her Sentence for Acceptance
              of Responsibility.
       USSG §3E1.1(a) provides for two-level reduction in the event that a defendant
“clearly demonstrates responsibility” for the offense. USSG §3E1.1(a). Further, the
Commentary to §3E1.1 states:
              In determining whether a defendant qualifies under subsection
              (a), appropriate considerations include, but are not limited to,
              the following:

                     (a) truthfully admitting the conduct comprising
                     the offense(s) of conviction, and truthfully
                     admitting or not falsely denying any additional
                     relevant conduct for which the defendant is
                     accountable under §1B1.3 (Relevant Conduct).
                     Note that a defendant is not required to

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                    volunteer, or affirmatively admit, relevant
                    conduct beyond the offense of conviction in
                    order to obtain a reduction under subsection (a).
                    A defendant may remain silent in respect to
                    relevant conduct beyond the offense of
                    conviction without affecting his ability to obtain
                    a reduction under this subsection. However, a
                    defendant who falsely denies, or frivolously
                    contests, relevant conduct that the court
                    determines to be true has acted in a manner
                    inconsistent with acceptance of responsibility;

                    (b) voluntary termination or withdrawal from
                    criminal conduct or associations;

                    (c) voluntary payment of restitution prior to
                    adjudication of guilt;

                    (d) voluntary surrender to authorities promptly
                    after commission of the offense;

                    (e) voluntary assistance to authorities in the
                    recovery of the fruits and instrumentalities of the
                    offense;

                    (f) voluntary resignation from the office or
                    position held during the commission of the
                    offense;

                    (g) post-offense rehabilitative efforts (e.g.,
                    counseling or drug treatment); and

                    (h) the timeliness of the defendant’s conduct in
                    manifesting the acceptance of responsibility.

Id., cmt. (n.1).
       Here, the most relevant factor to consider is whether a defendant “truthfully
admitt[ed] the conduct comprising the offense(s) of conviction, and truthfully admitt[ed]


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or not falsely den[ied] any additional relevant conduct for which the defendant is
accountable . . ..” Id., cmt. (n.1(a)). The corollary to this factor is whether defendant
“frivolously contests” relevant conduct. Id.
      The Application Notes further explain that
             Entry of a plea of guilty prior to the commencement of trial
             combined with truthfully admitting the conduct comprising the
             offense of conviction, and truthfully admitting or not falsely
             denying any additional relevant conduct for which he is
             accountable under § 1B1.3 . . . will constitute significant
             evidence of acceptance of responsibility for the purposes of
             subsection (a). However, this evidence may be outweighed by
             conduct of the defendant that is inconsistent with such
             acceptance of responsibility. A defendant who enters a guilty
             plea is not entitled to an adjustment under this section as a
             matter of right.
Id., cmt. (n.4(a)). In other words, although a defendant’s guilty plea and the admission
of the conduct comprising the offense and relevant conduct are strong indicators of
acceptance of responsibility, such a defendant is not necessarily entitled to a two-level
reduction under §3E1.1. United States v. Byrd, 76 F.3d 194, 196 (8th Cir. 1996); United
States v. Thompson, 60 F.3d 514, 517 (8th Cir. 1995); United States v. McQuay, 7 F.3d
800, 802 (8th Cir. 1993).
      The Application Notes, however, maintain that
             [c]onduct resulting in an enhancement under §3C1.1
             (Obstructing or Impeding the Administration of Justice)
             ordinarily indicates that the defendant has not accepted
             responsibility for [her] criminal conduct. There may, however,
             be extraordinary cases in which adjustments under both
             §§3C1.1 and 3E1.1 may apply.
USSG §3E1.1, cmt. (n.4). Thus, Sentencing Guidelines recommend that a finding of
perjury pursuant to §3C1.1 shall preclude a reduction for acceptance under §3E1.1(a),
except in extraordinary circumstances.


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       The Eighth Circuit Court of Appeals has established a framework for determining
if such a case is extraordinary. United States v. Honken, 184 F.3d 961, 968 (8th Cir.
1999). The court should take into account “the totality of the circumstances, including the
nature of the appellee’s obstructive conduct and the degree of appellee’s acceptance of
responsibility.” Id., 184 F.3d at 968. Specifically, the court ought to consider whether
“the obstruction of justice was an isolated incident early in the investigation or an on-going
effort to obstruct the prosecution . . . or whether appellee voluntarily terminated his
obstructive conduct, or whether the conduct was stopped involuntarily by law
enforcement.” Id. The Eighth Circuit Court of Appeals has repeatedly declined to
overrule a district court’s finding that a defendant is not entitled to the reduction as an
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“extraordinary case” for purposes of USSG §3E1.1(a).
       Defendant’s obstructive conduct, when viewed in light of the Honken test, precludes
an acceptance reduction. First, Defendant’s perjury was not an isolated incident early in
the investigation but a concerted effort to deceive the court at the Hearing. She maintained


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          United States v. Guel-Contreras, 468 F.3d 517, 523 (8th Cir. 2006) (holding that
defendant who perjured himself at codefendant’s trial was appropriately denied acceptance
reduction); United States v. Brandt, 419 F.3d 810, 812 (8th Cir. 2005) (holding that
perjured testimony offered by defendant at sentencing hearing was appropriately denied
acceptance reduction); United States v. Killingsworth, 413 F.3d 760, 765 (8th Cir. 2005)
(holding that defendant who perjured himself in presentencing evidentiary hearing of co-
conspirator was appropriately denied acceptance reduction); United States v. Campos, 362
F.3d 1013, 1016 (8th Cir. 2004) (holding that perjured testimony offered by defendant at
trial was not entitled to acceptance reduction); United States v. Molina, 172 F.3d 1048,
1059 (8th Cir. 1999) (holding that defendant’s clear perjury at her trial provided
“sufficient basis” for withholding acceptance reduction); United States v. Jefferson, 112
F.3d 514, 1997 WL 231220, *1 (8th Cir. 1997) (holding that defendant’s perjury before
a magistrate judge appropriately precluded acceptance reduction); United States v. Jagim,
978 F.2d 1032, 1038 (8th Cir. 1992) (holding that defendant who committed perjury
before grand jury was not entitled to acceptance reduction); United States v. Eberspacher,
936 F.2d 387, 389 (8th Cir. 1991) (holding that defendant who merely “bordered of
perjuring himself” was not entitled to acceptance reduction),

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in the Motion and at the Hearing that she was not aware of the IRS reporting threshold
until April 10, 2003, even though she had discussed that threshold with Hodges in March
of 2003. She insisted in her testimony that Hodges gave her an odd amount of cash, but
Hodges testified that he never provided Defendant with an odd amount.
       She objected to the finding in the PSIR that she structured more than one
transaction. She maintained that position in the Motion. At the Hearing, Defendant first
testified that she structured only one of the payments from Hodges, then later testified,
once it could not be denied, that she structured an additional payment from Hodges
amounting to $10,354.76, an odd amount that Hodges testified that he never gave her.
       These amount to ongoing misrepresentations to the court that do not at all evidence
an acceptance of responsibility but rather Defendant’s frivolously contesting relevant
conduct. Defendant admits what she cannot deny and denies what she cannot admit.
       Accordingly, the court finds Defendant has not carried her burden of proving that
she is entitled to a two-level a reduction for acceptance of responsibility.
       F.     Defendant Should Pay a Fine
       A person, like Defendant, who violates 18 U.S.C. § 1956(a)(1)(B)(ii) “shall be
sentenced to a fine of not more than $500,000 or twice the value of the property involved
in the transaction, whichever is greater . . ..” 18 U.S.C. § 1956(a). Given that, at most,
the value of the property involved is $40,354.76, the statutory maximum for Defendant’s
offense is a $500,000 fine.
       The Sentencing Guidelines suggest that if a defendant has established that she is
unable, or not likely to become able, to pay a fine, the court should not impose one; the
provision offers a table for minimum and maximum fines for offense-level ranges. USSG
§5E1.2(a)-(b). For the reasons set forth above, the court calculates Defendant’s offense-
level at 18; the range of fines for such level is $6,000 to $60,000. Id. However, the
suggested range is tempered by subsection (c)(4), which states that the maximum range in


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the table “does not apply if the defendant is convicted under a statute authorizing (A) a
maximum fine greater than $250,000 . . . .” USSG §5E1.2(c)(4).
       The Application Notes make plain that 18 U.S.C. § 1956(a) is such a statute. USSG
§5E1.2, cmt. (n.5).
       The Sentencing Guidelines state that the court ought to consider eight factors in
determining the amount of the fine:
              (1) the need for the combined sentence to reflect the
              seriousness of the offense (including the harm or loss to the
              victim and the gain to the defendant), to promote respect for
              the law, to provide just punishment and to afford adequate
              deterrence;
              (2) any evidence presented as to the defendant’s ability to pay
              the fine (including the ability to pay over a period of time) in
              light of his earning capacity and financial resources;
              (3) the burden that the fine places on the defendant and his
              dependents relative to alternative punishments;
              (4) any restitution or reparation that the defendant has made or
              is obligated to make;
              (5) any collateral consequences of conviction, including civil
              obligations arising from the defendant’s conduct;
              (6) whether the defendant previously has been fined for a
              similar offense;
              (7) the expected costs to the government of any term of
              probation, or term of imprisonment and term of supervised
              release imposed; and
              (8) any other pertinent equitable considerations.
USSG §5E1.2(d).
       The Eighth Circuit Court of Appeals has made plain that “[t]he district court need
not provide detailed findings under each of the factors . . . , but must provide enough
information on the record to show that it considered the factors . . . so that the appellate
court can engage in meaningful review.” United States v. Berndt, 86 F.3d 803, 808 (8th
Cir. 1996); see also United States v. Houchin, 413 F.3d 750, 752-53 (8th Cir. 2005)
(quoting Berndt); United States v. Hines, 88 F.3d 661, 663 (8th Cir. 1996) (“[I]f the

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sentencing court complies with [these factors], any constitutional ability-to-pay limitation
will necessarily be met.”)
       Defendant knowingly assisted Hodges in financing and purchasing a residence in
order to launder the illicit proceeds of his business. Such proceeds are nearly useless to
criminals like Hodges unless can convert them into legitimate assets. Absent conduct like
that of Defendant, the financial incentives in the narcotics trade would be greatly
diminished.
       Defendant profited from the sale through a commission. The imposition of a fine
both deprives Defendant of her gain from the illicit transaction and deters other real estate
professionals from facilitating similar sales.
       The PSIR reveals that Defendant has a positive net worth of $75,762.58. She owns
a home with a net value of $24,474.00 and two cars with a net value of $14,218.00, as
well as nearly $10,000 in cash.
       In light of these facts, the court determines that Defendant is able and should pay
a fine within the range suggested by §5E1.2.
       G.     A Downward Departure of Defendant’s Sentence Is Not Warranted Based
              on Her Past Employment Record, Civic Contributions or Charitable
              Activities.
       Defendant seeks a downward departure based on her employment record, civic
contributions and charitable activities. Section 5H1.11 of the Sentencing Guidelines reads,
“Military, civic, charitable, or public service; employment-related contributions; and
similar prior good works are not ordinarily relevant in determining whether a departure
is warranted.” USSG §5H1.11. Furthermore, USSG §5H1.5 reads, “Employment record
is not ordinarily relevant in determining whether a departure is warranted.” USSG
§5H1.5.
       The Eighth Circuit Court of Appeals has read these guidelines as providing for a
downward departure based on these elements in only extraordinary circumstances or when


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the activities are exceptional in nature. United States v. Huber, 462 F.3d 945, 952 (8th
Cir. 2006) (holding that departure for defendant’s substantial charitable contributions and
generosity over many years was not clearly erroneous); United States v. Woods, 159 F.3d
1132, 1136 (8th Cir. 1998) (departure based upon care of two high school drop-outs and
elderly neighbor); see also United States v. Haversat, 22 F.3d 790, 798 (8th Cir. 1994)
(stating extraordinary circumstances standard); United States v. Simpson, 7 F.3d 813, 819
(8th Cir. 1993) (same); United States v. Big Crow, 898 F.2d 1326, 1331 (8th Cir. 1990)
(same).
       Although Defendant is undoubtedly active in community organizations and her
church, the court finds that these activities do not rise to the level of exceptional.
Therefore, the request for a downward departure on this basis is denied.
                                   V. CONCLUSION
       Consistent with the pronouncements made during sentencing, the court determines
that Defendant’s base offense-level under USSG §2S1.3(a)(2) is 12. Additionally, the
court found a two-level increase pursuant to USSG §2S1.3(b)(1), a two-level increase
pursuant to USSG §3B1.3, and a two-level increase pursuant to USSG §3C1.1 to be
merited. Therefore, the court found Defendant’s total offense level to be 18, and her
Criminal History Category to be I. Finally, the court deemed it appropriate to deny
Defendant’s motion for downward departure pursuant to USSG §5H1.5 and USSG
§5H1.11.
       IT IS SO ORDERED.
       DATED this 18th day of July, 2007.




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